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JS-CAND 44 (Rev. 06/17)                  Case 3:18-cv-01865 Document 1-1 Filed 03/26/18 Page 1 of 2
                                                                                 CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
  The State of California, by and through Attorney General Xavier Becerra                                  Wilbur L. Ross, Jr., Secretary of the U.S. Department of Commerce, et. al. (see
                                                                                                           attachment for complete list)
   (b) County of Residence of First Listed Plaintiff             San Francisco                                County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.
   (c)     Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
 (See attachment)

II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                         PTF       DEF                                      PTF         DEF
      1    U.S. Government Plaintiff       3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4         4
                                                (U.S. Government Not a Party)
                                                                                                                                                           of Business In This State
                                                                                                    Citizen of Another State                2        2     Incorporated and Principal Place     5          5
      2    U.S. Government Defendant       4     Diversity                                                                                                 of Business In Another State
                                               (Indicate Citizenship of Parties in Item III)
                                                                                                    Citizen or Subject of a                 3        3     Foreign Nation                       6          6
                                                                                                    Foreign Country

IV.          NATURE OF SUIT               (Place an “X” in One Box Only)
          CONTRACT                                                   TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                  625 Drug Related Seizure of         422 Appeal 28 USC § 158             375 False Claims Act
   120 Marine                                                                                                     Property 21 USC § 881           423 Withdrawal 28 USC               376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                              Liability                      690 Other                               § 157                              § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                                                                                           400 State Reapportionment
                                       320 Assault, Libel & Slander                                                     LABOR                       PROPERTY RIGHTS
   150 Recovery of                                                             Pharmaceutical Personal                                                                                410 Antitrust
                                       330 Federal Employers’                                                 710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                          Injury Product Liability                                                                               430 Banks and Banking
                                           Liability                                                          720 Labor/Management                830 Patent
       Veteran’s Benefits                                                  368 Asbestos Personal Injury                                                                               450 Commerce
                                       340 Marine                                                                 Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                            Product Liability
                                       345 Marine Product Liability                                           740 Railway Labor Act                   Drug Application                460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                          470 Racketeer Influenced &
                                       350 Motor Vehicle                                                      751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                               Corrupt Organizations
                                       355 Motor Vehicle Product                                                  Leave Act
       Veterans)                                                           371 Truth in Lending                                                     SOCIAL SECURITY
                                           Liability                                                          790 Other Labor Litigation                                              480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property                                            861 HIA (1395ff)
                                       360 Other Personal Injury                                              791 Employee Retirement                                                 490 Cable/Sat TV
       Overpayment                                                             Damage                             Income Security Act             862 Black Lung (923)                850 Securities/Commodities/
    of Veteran’s Benefits              362 Personal Injury -Medical
                                           Malpractice                     385 Property Damage Product                                            863 DIWC/DIWW (405(g))                 Exchange
   160 Stockholders’ Suits                                                     Liability                            IMMIGRATION
                                                                                                                                                  864 SSID Title XVI                  890 Other Statutory Actions
   190 Other Contract                                                                                         462 Naturalization
                                            CIVIL RIGHTS                   PRISONER PETITIONS                                                     865 RSI (405(g))                    891 Agricultural Acts
   195 Contract Product Liability                                                                                 Application
                                       440 Other Civil Rights                 HABEAS CORPUS                                                                                           893 Environmental Matters
   196 Franchise                                                                                              465 Other Immigration                FEDERAL TAX SUITS
                                       441 Voting                          463 Alien Detainee                     Actions                                                             895 Freedom of Information
                                                                                                                                                  870 Taxes (U.S. Plaintiff or
          REAL PROPERTY                442 Employment                                                                                                                                    Act
                                                                           510 Motions to Vacate                                                      Defendant)
   210 Land Condemnation                                                       Sentence                                                                                               896 Arbitration
                                       443 Housing/                                                                                               871 IRS–Third Party 26 USC
   220 Foreclosure                         Accommodations                  530 General                                                                § 7609                          899 Administrative Procedure
                                       445 Amer. w/Disabilities–                                                                                                                         Act/Review or Appeal of
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                                                    Agency Decision
   240 Torts to Land                                                                OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                 950 Constitutionality of State
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                          Statutes
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights
                                                                           555 Prison Condition
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from              3      Remanded from           4   Reinstated or           5 Transferred from              6   Multidistrict           8 Multidistrict
          Proceeding                   State Court                      Appellate Court             Reopened                  Another District (specify)        Litigation–Transfer       Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 U.S. Const. art. I, § 2, cl. 3 (Actual Enumeration Clause); 5 U.S.C. § 706 (APA)
             ACTION
                                Brief description of cause:
                                 Inclusion of citizenship question on 2020 census violates Actual Enumeration Clause and the APA
VII.         REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                       CHECK YES only if demanded in complaint:
             COMPLAINT:                    UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                   JUDGE                                                       DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                          SAN JOSE                        EUREKA-MCKINLEYVILLE


DATE 03/26/2018                                          SIGNATURE OF ATTORNEY OF RECORD                                                 /s/ Gabrielle D. Boutin

                       Print                            Save As...                                                                                                                     Reset
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                           ATTACHMENT TO CIVIL COVER SHEET

Defendants:
WILBUR L. ROSS, JR., in his official capacity as Secretary of the U.S. Department of
Commerce; RON JARMIN, in his official capacity as performing the non-exclusive functions
and duties of the director of the U.S. Census Bureau; U.S. DEPARTMENT OF COMMERCE;
U.S. CENSUS BUREAU; and DOES 1-100.


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